Case 1:13-cr-20295-JEM Document 92 Entered on FLSD Docket 11/24/2015 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 13‐20295‐6‐CR‐MARTINEZ/GOODMAN


  UNITED STATES OF AMERICA

  v.

  YENCY NUNEZ,

        Defendant.
  _______________________________/



                REPORT AND RECOMMENDATIONS ON CHANGE OF PLEA

           United States District Court Judge Jose E. Martinez referred to the Undersigned a

  change of plea hearing for the acceptance of the defendant’s guilty plea. [ECF No. 81].

  The Undersigned conducted a hearing and recommends the following to the District

  Court:

           1.    On November 23, 2015, the Undersigned convened a hearing to permit the

  defendant to enter a change of plea. The Undersigned advised the defendant of the

  right to have these proceedings conducted by the District Judge assigned to the case.

  Further, the Undersigned advised the defendant that the Undersigned was conducting

  the change of plea hearing on an Order of Reference from the District Court and with

  the agreement of the defendant, the defendant’s attorney, and the Assistant United

  States Attorney assigned to this case. The Undersigned further advised the defendant

  that the District Judge assigned to this case would be the sentencing judge and would
Case 1:13-cr-20295-JEM Document 92 Entered on FLSD Docket 11/24/2015 Page 2 of 4




  make all findings and rulings concerning the defendant’s sentence and would conduct a

  sentencing hearing at a time set by the District Court.

         2.     The defendant, the defendant’s attorney, and the Assistant United States

  Attorney assigned to the case all agreed on the record to the Undersigned conducting

  the change of plea hearing.

         3.     The Undersigned conducted a plea colloquy in accordance with Rule 11 of

  the Federal Rules of Criminal Procedure.

         4.     There is a written plea agreement that has been entered into by the parties

  in this case. The Undersigned reviewed the plea agreement on the record and had the

  defendant acknowledge that the defendant signed the plea agreement. The

  Undersigned made certain that the defendant was aware of any minimum mandatory

  sentences and maximum sentences which could be imposed in this case pursuant to the

  plea agreement and the applicable statutes.

         5.     The defendant pled guilty to Count 1 of the Indictment. Count 1 charges

  the defendant with Conspiracy to possess with intent to distribute more than 5

  kilograms of cocaine with persons who were on board a vessel that was subject to the

  jurisdiction of the United States, in violation of Title 46, United States Code, Sections

  70503(a)(1) and 70506(b).

         6.     Through a written factual proffer signed by the defendant, the

  government stated a factual basis for the entry of the plea, which included all of the


                                                2
Case 1:13-cr-20295-JEM Document 92 Entered on FLSD Docket 11/24/2015 Page 3 of 4




  essential elements of the crime to which the defendant is pleading guilty, and any

  sentencing enhancements and/or aggravating factors that may be applicable. The

  defendant acknowledged the accuracy of the factual proffer and acknowledged his guilt

  and knowing participation in the alleged crime.

        7.      The Undersigned also discussed with the defendant that an adjudication

  of guilty could affect his immigration status including, but not limited to, being subject

  to deportation or denaturalization. The defendant understood and acknowledged that

  his guilty plea may have an effect on his immigration or naturalization status.

        8.      Based upon all of the foregoing and the plea colloquy conducted by the

  Undersigned, the Undersigned respectfully recommends to the District Court that the

  defendant be found to have freely and voluntarily entered a guilty plea as to Count 1 of

  the Indictment, and that the defendant be adjudicated guilty as to Count 1 of the

  Indictment.

        9.      A pre‐sentence investigation report is being prepared for the District

  Court by the United States Probation Office, and sentencing has been set for Monday,

  February 1, 2016 at 1:30 p.m., at the Wilkie D. Ferguson, Jr. United States Courthouse,

  400 North Miami Avenue, Courtroom 10‐1, Miami, Florida.

        ACCORDINGLY, the Undersigned respectfully recommends to the District

  Court that the defendant’s plea of guilty be accepted, the defendant be adjudicated




                                              3
Case 1:13-cr-20295-JEM Document 92 Entered on FLSD Docket 11/24/2015 Page 4 of 4




  guilty of the offenses to which a plea of guilty has been entered, and that a sentencing

  hearing be conducted for final disposition of this matter.

         The parties shall have 7 days from the date of this Report and Recommendations

  to serve and file written objections, if any, with the Honorable Jose E. Martinez, United

  States District Judge assigned to this case. Each party may file a response to the other

  party’s objection within 3 days of the objection. Failure to file timely objections waives a

  party’s right to review issues related to the defendant’s plea under Federal Rule of

  Criminal Procedure 11 before the District Judge or the Court of Appeals (even under a

  plain error standard). See Fed. R. Crim. P. 59(b)(1), (2), cited in United States v. Lewis, 492

  F.3d 1219, 1222 (11th Cir. 2007) (en banc).

         RESPECTFULLY RECOMMENDED, in Chambers, in Miami, Florida, on

  November 24, 2015.




  Copies furnished to:
  Honorable Jose E. Martinez
  All Counsel of Record
  United States Probation




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